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 8
                                           UNITED STATES DISTRICT COURT
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                                FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
      UNITED STATES OF AMERICA,                         No. 1:15-CR-00233-DAD-BAM
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                            Plaintiff,
13
              v.                                        ORDER FOR FORFEITURE MONEY
14                                                      JUDGMENT
      VICTOR HUGO SORIANO-VILLAFAN,
15    ALFONSO APU, and
      CHRISTOPHER SANTIAGO SANCHEZ-
16    BECERRA,

17                          Defendants.

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19            Based upon the United States’ Application for Forfeiture Money Judgment and the entry

20    of guilty pleas as to defendants Victor Hugo Soriano-Villafan, Alfonso Apu, and Christopher

21    Santiago Sanchez-Becerra,

22            IT IS HEREBY ORDERED that

23            1.       Defendant Victor Hugo Soriano-Villafan shall forfeit to the United States

24    $752,080.00 and the Court imposes a personal forfeiture money judgment against the defendant

25    in that amount.

26            2.       Defendant Alfonso Apu shall forfeit to the United States $115,248.00 and the

27    Court imposes a personal forfeiture money judgment against the defendant in that amount.

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     ORDER FOR FORFEITURE MONEY JUDGMENT                1
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 1            3.       Defendant Christopher Santiago Sanchez-Becerra shall forfeit to the United States

 2    $212,089.44 and the Court imposes a personal forfeiture money judgment against the defendant

 3    in that amount.

 4            4.       Any funds applied towards such judgment shall be forfeited to the United States of

 5    America and disposed of as provided for by law. Prior to the imposition of sentence, any funds

 6    delivered to the United States to satisfy the personal money judgment shall be seized and held by

 7    the Department of Homeland Security, Homeland Security Investigations, Customs and Border

 8    Protection, in its secure custody and control.

 9            5.       This Order of Forfeiture shall become final as to the defendants at the time of their

10    respective sentencing and shall be made part of the sentence and included in the judgment.

11            6.       In accordance with Rule 32.2(b)(3), the United States, in its discretion, shall be

12    allowed to conduct discovery, including but not limited to serving Interrogatories, Requests for

13    Admissions, Requests for Production of Documents, the taking of depositions, and the issuance of

14    subpoenas, in order to identify, locate or dispose of property to satisfy the money judgment.

15            7.       The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

16    Order of Forfeiture to substitute property having a value not to exceed $752,080.00 to satisfy the

17    money judgment in whole or in part.

18    IT IS SO ORDERED.
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          Dated:      November 28, 2016
20                                                           UNITED STATES DISTRICT JUDGE

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     ORDER FOR FORFEITURE MONEY JUDGMENT                 2
